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                            UNITED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF GEORGIA
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                                   STATESBORO DIVISION
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UNITED STATES OF AMERICA                       )
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       MA                                      )
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KYLE MICHAEL BREWER                            )         INDICTMENT NO. CR696-00004002


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       On February 10, 2009, Defendant filed a Request For an Order to Resentence Defendant due

to Vacated Conviction and Sentence, and on March 2, 2009, the Government filed a response

opposing Defendant's request.

        On January 7, 2000, the Eleventh Circuit Court of Appeals vacated Defendant's conviction

as to Count 6 of the Indictment (distribution of cocaine base) because it found that Count 6 was a

lesser included offense of another count of conviction, Count 8, using a minor to distribute cocaine

base. The Eleventh Circuit affirmed Defendant's conviction on the remaining counts (1, 5, 8 and

9) and, notably, did not remand the matter for resentencing.

        In compliance with the Eleventh Circuit's order, this Court entered an amended judgment

on February 10, 2000, which properly indicated that "the sentence originally imposed as to Count

6 is vacated pursuant to an order of the Eleventh Circuit Court of Appeals." Defendant's amended

judgment reflected the same total custodial sentence ----life, plus 5 years— as his original judgment,

since his conviction on Count 8 essentially controlled the length of the sentence.

        As found in United States v. Jackson, 923 F.2d 1494, 1497 (1 1" Cir. 1991), "Where the

entire sentencing package has not been set aside, a correction of an illegal sentence does not
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constitute a resentencing requiring the presence of the defendant, so long as the modification does

not make the sentence more onerous."

       As pointed out by the Government, in this case the Eleventh Circuit did not set aside

Defendant's entire sentencing package; it set aside only his conviction and sentence on Count 6, and

left untouched his remaining convictions and Sentences. The amended judgment entered by this

Court was properly entered and did not impose a more onerous sentence. The Court is therefore

satisfied that there exists no need, as Defendant claims, for the preparation of a new presentence

investigation report or the holding of a resentencing hearing in his presence.

       Based on the foregoing, the Court hereby DENIES Defendant's motion.

       SO ORDERED, this             4day of May, 2009.

                                                              t denfield
                                                      United States District Judge
                                                      For the Southern District of Georgia
